         Case 1:04-cv-10981-PBS Document 1694 Filed 03/04/09 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

---------------------------------------------------------------x
                                                               :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :   Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
ALL PRODUCTS LIABILITY CASES                                   :
                                                               :
---------------------------------------------------------------x

     PRODUCTS LIABILITY PLAINTIFFS' NOTICE OF SUPPLEMENTAL
     AUTHORITY IN OPPOSITION TO DEFENDANTS PFIZER INC. AND
  WARNER-LAMBERT COMPANY LLC'S MOTION FOR SUMMARY JUDGMENT

        In connection with the pending motion by Defendants Pfizer Inc., and Warner-Lambert

Company LLC for summary judgment, ECF Doc. # 1161, Products Liability Plaintiffs

respectfully submit for the Court's consideration a copy of the Opinion of the Honorable John

Paul Stevens, J., in Wyeth v. Levine, U.S. Sup. Ct. Docket No. 06-1249, dated March 4, 2009, the

concurring Opinion of the Honorable Clarence Thomas, J., and the dissenting Opinion of the

Honorable Samuel Anthony Alito, Jr. This filing is intended to ensure that the Court and all

counsel have ready access to the Opinions. A true and correct copy of the Opinions (Slip

Opinions) is attached hereto as Exhibit A.

        Plaintiffs believe that the Opinions will assist the Court in its deliberations, and are

relevant to the issue under consideration in this matter, i.e., whether Plaintiffs’ claims are

preempted by the Federal Food, Drug and Cosmetic Act, 21 U.S.C. ¶ 301, et seq., and its

implementing regulations.
       Case 1:04-cv-10981-PBS Document 1694 Filed 03/04/09 Page 2 of 2




Dated: March 4, 2009                          Respectfully submitted,

                                              Members of Products Liability
                                              Plaintiffs' Steering Committee


                                        By:   /s/ Andrew G. Finkelstein
                                              Andrew G. Finkelstein, Esquire
                                              Finkelstein & Partners, LLP
                                              436 Robinson Avenue
                                              Newburgh, NY 12550


                                        By:    /s/ Jack W. London
                                              Jack W. London, Esquire
                                              Law Offices of Jack W. London
                                                  & Associates
                                              3701 Bee Cave Road, Suite 200
                                              Austin-Westlake, TX 78746


                            CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order No. 3 on March 4, 2009.


                                              /s/ Andrew G. Finkelstein
                                              Andrew G. Finkelstein, Esquire




                                          2
